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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                       WESTERN DISTRICT OF WASHINGTON FOR SEATTLE
 9

10

11    NGETHPHARAT ANYSA;                                NO.

12                           Plaintiff,                 CLASS ACTION COMPLAINT FOR
                                                        BREACH OF CONTRACT, VIOLATION OF
13           v.                                         WASHINGTON CONSUMER
                                                        PROTECTION ACT & DECLARATORY
14    STATE FARM MUTUAL INSURANCE
                                                        RELIEF
      COMPANY;
15

16                          Defendant.
17

18          COMES NOW NGETHPHARAT ANYSA (“Plaintiff”) the above-named Plaintiff, as
19
     the proposed Class Representative, for causes of action for breach of contract, violation of the
20
     Washington Consumer Protection Act (“CPA”), and declaratory relief against the above-named
21
     Defendant, STATE FARM MUTUAL INSURANCE COMPANY (hereinafter “Defendant” or
22

23   “STATE FARM”) alleges as follows:

24                                         I. INTRODUCTION
25
            1.1     This action seeks to recover compensatory damages (i.e. the amount underpaid on
26
     the claim) suffered by the Plaintiff, and the Members of the proposed Class, all insureds of the
27
     Defendant within the State of Washington, as a result of the Defendant's claims handling practice
28


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 1
     with respect to the adjustment and payment of total loss claims to its own insureds under STATE
 2
     FARM’s First-Party Private Passenger Auto Physical Damage Coverages. This Proposed Class
 3

 4   Action challenges the claims practice of STATE FARM after STATE FARM had determined,

 5   after its own investigation – for every member of the proposed Class – that its insureds’ vehicles
 6
     were total losses. In determining the “actual cash value” to be paid on these total losses STATE
 7
     FARM commonly used valuation reports from the “Autosource” system obtained by STATE
 8
     FARM from its vender Audatex 1, to determine what STATE FARM then stated to its insured is
 9

10   the value of the totaled vehicle as of the date of the loss.

11            1.2 The total loss reports entitled “Autosource Market-Driven Valuation” (hereafter
12
     “Autosource Reports” or “Autosource”) are used on nearly many 2 total loss settlements by
13
     STATE FARM. In turn, approximately 75% of the Autosource reports, each of which can be
14
     identified by reviewing the actual reports, or electronically from data that STATE FARM can
15

16   access from its vender Audatex, took an unsupported deduction for “typical negotiation” which

17   is not permitted under the applicable Washington total loss regulations. This deduction, found in
18
     the fine print, was used to reduce the price of all comparable vehicles on the report, which then
19
     results in an average 6.5% reduction in the total loss valuation (the average for all Autosource
20

21

22

23
     1
      Autotex was formally known as “AudaExplore” and is a supplier of vehicle claims and estimating software which
24   bills itself as “providing solutions for the collision and insurance claims industry”
25   2
       Plaintiff’s investigation shows that these reports appear to have been used by STATE FARM on a routine basis for
     first- party total loss settlements, with on information and belief, the Autosource system having been used on nearly
26   all losses presently and for at least the last year or so in Washington. However, to the extent that an Autosource
     valuation report with a “typical negotiation” discount was not generated and used on a STATE FARMS total loss
27   settlement offer (and STATE FARM instead used a valuation report from another source, such as Mitchell or CCC,
     or only an Autosource report without a “typical negotiation” discount) then these claims would not be in the
28   proposed Class of those who received settlements based upon an Autosource estimate with a “typical negotiation”
     discount, resulting in a smaller class size, and less “savings” to STATE FARM being at issue.
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 1
     reports with a “typical negotiation discount”) upon which STATE FARM bases its payments to
 2
     its insureds.
 3

 4            1.3      STATE FARM advertised, solicited, and sold Private Passenger automobile

 5   insurance policies providing 1st party comprehensive, collision, underinsured motor vehicle
 6
     property damage coverage in the State of Washington (collectively “first party property damage
 7
     coverages”). These coverages, like the policy sold to the Plaintiff and members of the proposed
 8
     class, provide for payment “loss … to a covered vehicle” (under collision/comprehensive) as
 9

10   well as “compensatory damages” the insured is “legally entitled to recover” under the

11   underinsured motor vehicle property damage (“UMPD”) coverage.
12
              1.4      As it relates to what are called “total losses,” 3 the contractual obligations of
13
     STATE FARM are identical for all three first-party property damage coverages, and are
14
     governed by Washington Administrative Code (“WAC”), § 284-30-391 (“§391”) entitled
15

16   “Methods and Standards of Practice For Settlement of Total Loss Vehicle Claims.” These

17   standards are incorporated by law and the standard of care applicable to insurers into STATE
18
     FARM’s contractual obligations to its insureds, and the failure to adhere to them is a breach of
19
     contract under Washington Law. See e.g. Van Noy v. State Farm Mut. Ins. Co., 98 Wn. App.
20
     487, 983 P.2d 1129 (1999).
21

22            1.5      § 391 states in relevant part:

23            Unless an agreed value is reached, the insurer must adjust and settle vehicle total
              losses using the methods set forth in subsections (1) through (3) of this section.
24
              Subsections (4) through (6) of this section establish standards of practice for the
25            settlement of total loss vehicle claims.
                      ….
26

27   3
       When a vehicle is a “total loss” is defined by WAC 284-30-320(15): “"Total loss" means that the insurer has
     determined that the cost of parts and labor, plus the salvage value, meets or exceeds, or is likely to meet or exceed,
28   the "actual cash value" of the loss vehicle. Other factors may be considered in reaching the total loss determination,
     such as the existence of a biohazard or a death in the vehicle resulting from the loss.”
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 1
          (2) Cash settlement: The insurer may settle a total loss claim by offering a cash
 2        settlement based on the actual cash value of a comparable motor vehicle, less any
          applicable deductible provided for in the policy.
 3

 4           (a) Only a vehicle identified as a comparable motor vehicle may be used to
             determine the actual cash value.
 5
             (b) The insurer must determine the actual cash value of the loss vehicle
 6
             by using any one or more of the following methods:
 7               (i) Comparable motor vehicle: …
                 (ii) Licensed dealer quotes: …
 8               (iii) Advertised data comparison: The actual cash value of two or
                 more comparable motor vehicles advertised for sale in the local media
 9
                 if the advertisements meet the definition of current data as defined in
10               WAC 284-30-320(4). The vehicles must be located within a reasonable
                 distance of the principally garaged area not to exceed one hundred fifty
11               miles.
                 (iv) Computerized source: The insurer may use a computerized
12
                 source to establish a statistically valid actual cash value of the loss
13               vehicle. The source used must meet all of the following criteria:

14                   (A) The source's database must produce values for at least eighty-five
                     percent of all makes and models for a minimum of fifteen years taking
15
                     into account the values of all major options for such motor vehicles.
16                   (B) The source must produce actual cash values based on current
                     data within a reasonable distance of the principally garaged area,
17                   not to exceed one hundred fifty miles.
                     (C) The source must rely upon the actual cash value of
18
                     comparable motor vehicles that are currently available or were
19                   available in the market place within ninety days prior to or after
                     the date of loss.
20                ….
          (4) Settlement requirements: When settling a total loss vehicle claim using
21
          methods in subsections (1) through (3) of this section, the insurer must:
22        ...
                  (b) Base all offers on itemized and verifiable dollar amounts for
23                vehicles that are currently available or were available within ninety
                  days of the date of loss, using appropriate deductions or additions for
24
                  options, mileage or condition when determining comparability.
25
          (5) Settlement adjustments: Insurers may adjust a total loss settlement through the
26        following methods only:
                  (a) The insurer may deduct from a first party claim the amount of another claim
27
                  payment (including the applicable deductible) previously made to an insured for
28                prior unrepaired damage to the same vehicle.

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 1
                    (b) Deductions other than those made pursuant to (a) of this subsection may be
 2                  made for other unrepaired damage as long as the amount of deduction is no
                    greater than the decrease in the actual cash value due to prior damage.
 3
                    (c) If the claimant retains the total loss vehicle, the insurer may deduct the salvage
 4                  value from the settlement amount, as described in subsection (4)(e) of this section

 5   (emphasis added).
 6
            1.6     In relevant part, §391 provides several different methods to settle a total loss, one
 7
     of which “must” be used by the insurer to value the total loss vehicle. §391 further provides a
 8
     number of mandatory requirements as to what the insurer “must” do as to the comparable
 9

10   vehicles which can be used (what are called in the automobile and appraisal trade “comps”) and

11   the adjustments which can be made, in valuing the loss. These include:
12
            (1) “Base all offers on itemized and verifiable dollar amounts for vehicles that are
13          currently available, or were available within ninety days of the date of loss, using
            appropriate deductions or additions for options, mileage or condition when determining
14          comparability.” [WAC § 284-30-391(4)(b)]
15
            (2) beyond the three adjustments allowed by §§(4): “Insurers may adjust a total loss
16          settlement through the following methods only…” listing adjustments for unrepaired
            damage and salvage value and prior payments. [WAC §391(5)]
17
            (3) requiring the valuation to be based upon the actual verifiable prices of vehicles
18
            available within 90 days of the loss and within 120 miles of the total loss vehicle’s
19          location. [§391(2)(b)(iii), §391(2)(b)(iv)(B), §391(2)(b)(v)]

20          (4) requiring the valuation to be based upon “comparable motor vehicles”, which means
            the “same make and model, of the same or newer model year, similar body style, with
21
            similar options and mileage as the loss vehicle and in similar overall condition, as
22          established by current data. To achieve comparability, deductions or additions for
            options, mileage or condition may be made if they are itemized and appropriate in dollar
23          amount.” [WAC § 284-30-320(3)].
24
            1.7     On December 19, 2019, Plaintiff’s vehicle was damaged while insured by the
25
     Defendant. Plaintiff’s automobile, a 2014 SUBARU FORRESTER 2.5i Premium 4WD 4D
26
     Wagon, had 93,947 miles on it. Plaintiff presented a claim to STATE FARM to compensate her
27

28   for the damage to the vehicle pursuant to Plaintiff’s insuring agreement with STATE FARM.

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 1
     STATE FARM fully investigated the facts of the claim, determined fault, and any comparative
 2
     liability, and the estimated cost of repairs of Plaintiff’s vehicle, and recorded the results of it’s
 3

 4   investigation in the claims file. Based upon this investigation, the claim was determined to be a

 5   UMPD claim and STATE FARM elected to declare the SUBARU a total loss. This
 6
     determination by the Defendant entitled Plaintiff to the benefits available under her insuring
 7
     agreement and Washington Law for payment of total losses, and nothing further was required
 8
     from Plaintiff to obtain these benefits.
 9

10           1.8     STATE FARM offered Plaintiff the sum of $13,378.00 as the value of her totaled

11   vehicle, providing that valuation, but not the underlying support for that offer, electronically to
12
     Plaintiff. On information and belief, it is STATE FARM’s common policy and practice to
13
     provide the total loss value, but not the underlying report used to obtain that value, to its
14
     insureds. Plaintiff requested several times to see the underlying report supporting the number
15

16   she was given but was only able to obtain it from STATE FARM once a lawyer requested the

17   underlying valuation report. When the report was received, it turned out that STATE FARM’s
18
     valuation was based upon an Autosource which took an unverifiable and unclear deduction for
19
     “typical negotiation” off the verifiable price for each of the four comparable vehicles (“comps”),
20
     resulting in the base price (what the average of the four comps show as the value) for Plaintiff’s
21

22   vehicle being $919.75 lower than had a “typical negotiation” discount not been taken.

23           1.9     The deduction for “typical negotiation” is hidden in the fine print of the report.
24
     The report on Plaintiff’s vehicle is typical. First, the adjusted “comps” are shown for each
25
     vehicle on the report. E.g., the first Comp is shown this way:
26

27

28


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 8   The report appears to follow §391, using only comparable vehicles, with the required

 9   adjustments for mileage and options being take. However, the price listed for the “comp” -
10
     $15,017 is not the actual “verifiable” price of the comp, and no vehicle is actually “available” for
11
     that price. Instead, if one reads the report carefully, four pages later, where the vin numbers and
12
     information which must be provided to be able to verify the comp are listed, the report (as do all
13

14   Autosource reports used by State Farm) states:

15

16

17

18

19

20

21

22

23   Rather than taking the allowed adjustments under §391 off of a “verifiable” price of an

24   “available” vehicle ($15,975) the Autosource report has taken a further adjustment – not
25
     explained and unverifiable by the insured – off the verifiable price, and then used that adjusted
26
     price of $15,017 as the starting point for it’s valuation. The result is a base price for the first
27
     comparable vehicle which is $958 less.
28


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 1
             1.10   The amount that State Farm “saved” through it’s common claims practice can be
 2
     determined by subtracting the lower adjusted price actually used by Autosource from the
 3

 4   verifiable price of the available vehicle. For Plaintiff’s report these were as follows:

 5           Claimed Price          Actual Verifiable Price         $ Savings         % deduction
 6
        1    $15,017                        $15,975                 $958              6%
 7      2.   $11,618                        $12,492                 $874              7%
        3.   $14,565                        $15,495                 $930              6%
 8      4.   $12,183                        $13,100                 $917              7%
 9

10   State Farm saved the average of the “$ Savings” column by taking the “typical negotiation”

11   discount, resulting in a total loss offer to Plaintiff which was $919.75 lower than the verifiable
12
     prices for available vehicles required.
13
             1.11   As such, and as shown by the Autosource report – only obtained by Plaintiff after
14
     considerable effort and several requests - STATE FARM did not base its total loss offer to the
15

16   Plaintiff solely upon deductions for “options, mileage or condition” nor upon “verifiable dollar

17   amounts for vehicles that are currently available, or were available within ninety days” as WAC
18
     284-30-391(4) required STATE FARM to do in settling claims under the policy. Instead,
19
     STATE FARM, using Autosource, took (and routinely takes) an additional deduction for an
20
     amount it attributes to “typical negotiation” and does this by deducting an adjustment to the
21

22   verifiable price for the comps (and though this the insured vehicle) that is (a) not itself

23   “verifiable”, (b) is not based upon actual verifiable sales that occurred within the one-hundred
24
     and eighty day window and one hundred and fifty mile radius required by §391, and through it
25
     by STATE FARM’s insurance policy.
26
             1.12   Not only does STATE FARM fail to use verifiable prices for available vehicles,
27

28   but the actual deduction taken by State Farm for “typical negotiation” (as facts unknowable to

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 1
     any State Farm insured show) violates multiple express requirements of §391, and is a
 2
     fundamentally unreasonable, unsupportable, and fraudulent hidden deduction:
 3

 4            (a) the deduction is not based upon the purported sales prices of vehicles within 120

 5   miles as §391 requires, or even Statewide in Washington, but rather purportedly is based upon
 6
     regional data including purported sales in other States;
 7
              (b) the deduction is not based upon purported sales prices of vehicles within 90 days of
 8
     the loss, but rather purportedly upon a years’ worth of data, with no adjustments for seasonality;
 9

10            (c) the deduction is based upon the claimed difference between the asking price and

11   reported sales prices of vehicles which is obtained by Autosource from venders who in turn
12
     obtain it from dealers and state taxing and licensing departments, however the lower reported
13
     sales prices Autosource uses to calculate the “typical negotiation” discount are lower than the
14
     actual bonafide market clearing sale prices due to trade-in value being removed and/or the
15

16   underreporting of price to save on sales tax. 4

17            (d) this unreliable data is then averaged by Autosource for all vehicles, not vehicles of the
18
     same make, model, and/or year, and is then separated into pre-set price bands, with the average
19
     difference in the unreliable data being then rounded to reflect the claimed “typical negotiation”
20
     discount for that price band.
21

22            (e) Autosource has not tested the reliability or accuracy of the data it uses, nor if the data

23   shows that even the average “typical negotiation” it provides and STATE FARM takes, applies
24
     to any specific, make, model, year, mileage, time of year, or vehicle scarcity or demand, let alone
25
     to the area (120 miles) and time (90 days) of the total loss, and has done no analysis or validation
26

27
     4
       To give an example, a vehicle may have had an advertised price of $10,000, but the insured trades in a vehicle for
28   $1000, while negotiating down the price by $200. The resulting sold price would be reported as $8,800, for
     license/tax purposes, but that does not reflect the actual market sale price of the vehicle.
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 1
     to determine how the figures it claims for “typical negotiation” would apply to any specific
 2
     vehicle.
 3

 4           The results of this are shown on Plaintiff’s Autosource, where as noted in paragraph 1.10,

 5   above, the deduction for “typical negotiation” is purportedly 7% for two of the comps (those
 6
     with $12,492 and $13,100 verifiable prices) but 6% on the two more expensive (those with
 7
     $15,975 and $15,495 verifiable prices), and as such because of the artificial combining of data
 8
     not specific to the make, model, or year, the same vehicle (a 2014 Subaru Forester) is alleged to
 9

10   have a 7% “typical negotiation” discount for two comps, but only 6% for two others, with the

11   vehicle with a lower offering price, purportedly being available with a higher “typical
12
     negotiation” discount. This defies common sense, and is unsupported by any data or analysis, let
13
     alone any effort by STATE FARM to validate the deductions, which STATE FARM is
14
     responsible for the accuracy of under WAC §284-30-380(7).
15

16           1.13    Having obtained a copy of the Autosource report after several efforts, Plaintiff

17   objected to the deduction for “typical negotiation” and asked that it be removed, and the loss
18
     paid without it being taken. STATE FARM refused to do so.
19
             1.14    Plaintiff alleges that despite the specific mandates of WAC 284-30-391(4)(b)
20
     which is incorporated into its contractual obligations under the standard of care and its duty to
21

22   follow Washington law in resolving claims, STATE FARM routinely underpays its insureds

23   their total loss claims by deducting additional sums for “typical negotiation” even though such a
24
     deduction is not allowed by and does not comply with WAC 284-30-391 or its policy of
25
     insurance, nor are such deductions factually supportable or verifiable. By these practices the
26
     Defendant places its financial interests ahead of its insureds, failing to fulfil its contractual
27

28   obligations to its insureds.

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 1
                                        II. JURISDICTION AND VENUE
 2
             2.1      This Court has jurisdiction pursuant to the Class Action Fairness Act of 2005, 28
 3

 4   U.S.C. § 1332(d), because the proposed Class consists of 100 or more members; the amount in

 5   controversy exceeds $5,000,000, exclusive of costs and interest and any fees that might be
 6
     awarded; and minimal diversity exists. 5 Plaintiff is a citizen of Washington and Defendant is a
 7
     citizen of Illinois (where it is headquartered). This Court has personal jurisdiction over
 8
     Defendant because Defendant is a corporation licensed and authorized to do business in
 9

10   Washington and has transacted business in Washington. This Court has personal jurisdiction

11   over Plaintiff because Plaintiff consents to this Court’s jurisdiction.
12
             2.2      Venue and assignment is proper in this District under 28 U.S.C. § 1391, and LCR
13
     3(e)(1) because King County, Washington is within this District and this is where Defendant
14
     operates business through its agents in this State, where the Plaintiff’s insurance claim was
15

16   underpaid by STATE FARM, and where the cause of action against STATE FARM arose.

17           2.3      The Plaintiff is a citizen of the State of Washington and resides in King County.
18
                                                  III. THE PARTIES
19
             3.1      Plaintiff resides in the State of Washington in King County. Plaintiff was insured
20
     under a policy of insurance issued by the Defendant. Plaintiff paid all premiums due to
21

22   Defendant and otherwise complied with all obligations under the insuring agreement.

23

24

25

26   5
       Based upon the Class sizes of other insurers using Autosource reports with a “typical negotiation” discount, and
     State Farm’s market share in Washington, Plaintiff believes, on information and belief, that over a six year period
27   there would be approximately 34,000 total loss claims where an Autosource valuation with a “typical negotiation”
     discount taken was provided to the insured. Based upon the average “savings” of $665.81 per claim determined in
28   a prior case, this would be $22,637,540 in compensatory damages (i.e he amount State Farm “saved” via taking a
     “typical negotiation” discount), without considering trebling under the CPA or attorney’s fees.
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 1
            3.2     The Defendant is a foreign insurer, domesticated in Washington, which maintains
 2
     its head office in Bloomington, Illinois, and has offices and agents in Washington State, and
 3

 4   King County, wherein it conducts substantial and ongoing business.

 5                IV. THE COMMON COURSE OF CONDUCT BY STATE FARM
 6
            4.1     STATE FARM solicits and advertises consumers to purchase insurance coverage
 7
     for their vehicles in Washington.
 8
            4.2     These policies providing 1st party comprehensive, collision, underinsured motor
 9

10   vehicle property damage coverage (collectively “first party property damage coverages”). These

11   coverages, like the policy sold to the Plaintiff and members of the proposed class, provide for
12
     payment “loss … to a covered vehicle” (under collision/comprehensive) as well as
13
     “compensatory damages” the insured is “legally entitled to recover” under the underinsured
14
     motor vehicle property damage (“UMPD”) coverage.
15

16          4.3     Yet, rather than fully adhering to the provisions of the WAC §284-30-391, and

17   fulfilling it’s legal responsible of insuring the accuracy of the valuations it provided under WAC
18
     §284-30-380(7), STATE FARM uses a report from a third-party vendor, Autosource, which
19
     routinely takes an additional, unauthorized, fundamentally unreasonable, unsupportable, and
20
     fraudulent hidden deduction for “typical negotiation,” which results in underpayment of the
21

22   compensation owed to its insureds under the policy.

23                               V. CLASS ACTION ALLEGATIONS
24
            5.1     This action is brought as a class action under FRCP 23. STATE FARM's conduct
25
     has been systematic and continuous and has affected large numbers of STATE FARM's policy
26
     holders over time in this State. Plaintiff brings this class action to secure redress for STATE
27

28   FARM's uniform and common practice of underpaying its first-party insureds for their total loss

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 1
     claims and failing to comply with §391. STATE FARM's conduct has been uniform throughout
 2
     the Class Period.
 3

 4          5.2     All members of the proposed Class have fully complied with all pertinent policy

 5   provisions to receive payment under their policies from the STATE FARM, and STATE FARM
 6
     has determined that coverage exists for the loss and determined the claim to be a total loss,
 7
     recording these determinations in its claims file and electronic records. No further performance
 8
     is required by any members of the proposed Class to secure all available benefits provided by the
 9

10   STATE FARM policy.

11          5.3     Plaintiff seeks certification of the following Class:
12
            All STATE FARM insureds with Washington first party personal line policies
13          issued in Washington State, who received compensation for the total loss of their
            own vehicles under their First Party (Comprehensive, Collision, and UMPD)
14          coverages, and who received a total loss valuation from Audatex based upon the
            value of comparable vehicles which took a deduction/adjustment for “typical
15
            negotiation.”
16
            5.4     Excluded from the Class are (a) the assigned judge, the judge's staff and family,
17
     and STATE FARM employees, (b) claims for accidents with dates of loss occurring more than
18

19   six years before the date of filing, (c) claims where the total loss was on a “non-owed” vehicle

20   (where no insured has any ownership interest or rights in the vehicle), and (d) claims where the
21   insured submitted written evidence supporting a different valuation, and the amount of that
22
     different valuation submitted by the insured was paid by STATE FARM to settle the total loss.
23
            5.5     Membership in the Class is so numerous as to make it impractical to bring all
24

25   Class members before the Court. The exact number of Class members is unknown but can be

26   readily determined from the records maintained by Defendant. STATE FARM’s records,
27   including those readily obtainable by STATE FARM from its agent Audatex allow the members
28
     of the proposed Class, as well as those who are then excluded to be identified with precision.
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 1
            5.6     Plaintiff is typical of member of the Class. Plaintiff purchased a STATE FARM
 2
     automotive policy, paid premiums, and made a claim for loss when her insured automobile was
 3

 4   damaged. Plaintiff filed a claim and made her vehicle available for determination and payment

 5   of the loss. STATE FARM then elected to declare the vehicle a total loss but underpaid the loss
 6
     based upon a valuation obtained from a third-party vendor (Audatex) which used criteria to
 7
     underpay the loss, which was not permitted under STATE FARM’s contractual obligations.
 8
     Plaintiff’s interests in obtaining compensation for her loss (the underpayment on her claim
 9

10   compared to the amounts she would have received, but-for, the “typical negotiation” adjustment

11   discount and compensation under the CPA) are identical to those of other unnamed members of
12
     the Class.
13
            5.7     There are questions of law and fact common to all members of the proposed
14
     Class, which predominate over any individual issues. Included within the common questions of
15

16   law and fact are the following:

17          a)      Whether STATE FARM’s use of a “Typical Negotiation Adjustment” discount
18
                    complied with WAC §391 and as such its obligations under its policies and its
19
                    obligations as an insurer under those policies;
20
            b)      Whether STATE FARM through such conduct breached its contracts of insurance
21

22                  with the Class Members by failing to compensate its insureds by taking a

23                  “Typical Negotiation Adjustment” deduction;
24
            c)      Whether STATE FARM through such conduct has violated provisions of the
25
                    Washington Consumer Protection Act, RCW 19.86 et seq.;
26
            d)      The amounts by which STATE FARM underpaid the claims of the members of
27

28                  the Class by using a “Typical Negotiation Adjustment”;

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 1
            e)      Whether Plaintiff and the class are entitled to an award of treble damages;
 2
            f)      Whether Plaintiff and the class are entitled to an award of attorney’s fees; and
 3

 4          g)      Whether Plaintiff and the class are entitled to declaratory and injunctive relief.

 5          5.8     Plaintiff has no interests adverse to the interests of other members of the proposed
 6
     Class and will fairly and adequately protect the interests of the Class.
 7
            5.9     Plaintiff has retained the undersigned counsel who are experienced and competent
 8
     in the prosecution of class actions and complex litigation and have extensive experience with
 9

10   litigation involving insurance claims practices. Counsel have the resources and experience

11   necessary to prosecute this case.
12
            5.10    A class action is superior to other available methods for the fair and efficient
13
     adjudication of this controversy. Absent a class action, STATE FARM’s use of a computerized
14
     source which improperly underpays the actual cash value loss to its insureds will continue, the
15

16   overwhelming majority of Class Members will not know of State Farm’s misconduct, and the

17   Class members will continue to suffer damage and STATE FARM's conduct will proceed
18
     without effective remedy.
19
            5.11    Individual members of the proposed Class have little interest or ability to
20
     prosecute an individual action due to the relatively small damages suffered by each member of
21

22   the proposed Class, and in nearly all, if not all cases, not knowing that STATE FARM’s

23   practices in settling their total loss did to comply with the WAC regulations and as such STATE
24
     FARM’s obligations under the policy and that as such an underpayment exists.
25
            5.12    This action will allow the orderly, fair, and expeditious administration of Class
26
     claims, economics of time, effort, and expense will be fostered, and uniformity of decisions will
27

28


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 1
     be ensured. A collective adjudication will allow sufficient proof and expertise to be assembled
 2
     to fairly value and prove the losses at issue.
 3

 4            5.13    This action will present no difficulties which would impede its management by

 5   this Court as a class action and a class action is the best available means by which Plaintiff and
 6
     the members of the proposed Class can seek redress for the harm caused to them by STATE
 7
     FARM. An exact list of members of the proposed Class can be generated from STATE FARM
 8
     and its vendor’s records. STATE FARM's records will also show the amounts its insureds were
 9

10   under-paid for their total loss claims where the amounts paid were reduced for “Typical

11   Negotiation Adjustment.” As such, both liability and damages can be shown on a Class-wide
12
     basis with common evidence and then allow any recovery to be distributed to the members of the
13
     Class.
14
                                  COUNT I – BREACH OF CONTRACT
15

16            6.1     Plaintiff realleges the allegations contained in the previous paragraphs as if fully

17   set forth herein.
18
              6.2     Plaintiff and members of the proposed Class entered into contracts which were
19
     identical in all material respects with STATE FARM. They paid all required consideration in the
20
     form of premiums for the coverage afforded by the insuring agreement. They complied with all
21

22   conditions precedent under the policies and presented their claims. As to each claim, STATE

23   FARM has found coverage to exist and apply and all conditions precedent to payment to be
24
     satisfied.
25
              6.3     While it owed each member of the proposed class a duty of good faith and fair
26
     dealing, and under the standard of care for insurers and the policy itself was required to follow
27

28   Washington law in adjusting losses, STATE FARM breached its contract with Plaintiff and

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 1
     members of the Class by its failure to adjust and pay their total loss claims pursuant to the
 2
     criteria set forth in §391 for adjustment of total loss claims.
 3

 4           6.4     As a direct consequence of the foregoing, Plaintiff and the members of the Class

 5   have been damaged by the underpayment of their total loss claims, in an amount to be
 6
     determined at trial.
 7
                   COUNT II – VIOLATION OF CONSUMER PROTECTION ACT
 8
             7.1     STATE FARM’s actions/omissions/failure to disclose are unfair and/or deceptive
 9

10   trade practices that have the capacity to and do deceive consumers, as STATE FARM has denied

11   payment of benefits to Plaintiff and the class through knowingly misrepresented the basis for its
12
     total loss valuations.
13
             7.2     STATE FARM has failed to adopt and implement reasonable standards for the
14
     investigation and payment of claims, and pays claims based upon purported deductions that are
15

16   neither “verifiable” nor based upon actual verifiable sales as required by WAC §391, fall outside

17   of the geographical scope (150 miles) and time frame (90 days) required by WAC §391, and are
18
     not based upon “comparable motor vehicles” as required by WAC §391 and through it by
19
     STATE FARM’s insurance policy. STATE FARM has made false representations as to the
20
     characteristics and benefits of its total loss coverage and insurance policies and represented that
21

22   they were of a particular standard, quality, or grade knowing they were not.

23           7.3     STATE FARM’s use of a deduction for “Typical Negotiation” adjustment,
24
     determined in the way Autosource determines it, is a per se violation of the WAC.
25
             7.4     The forgoing acts/omissions/failure to disclose have affected STATE FARM
26
     insureds as a part of a repeated course of conduct, thereby affecting public interest, and also
27

28   violate the provisions of the Washington Administrative Code, making them per se violations of

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 1
     the Washington Consumer Protection Act.
 2
            7.5     As a direct consequence of the foregoing, Plaintiffs and the members of the Class
 3

 4   have been damaged in an amount to be determined at trial.

 5                 COUNTS III & IV DECLARATORY & INJUNCTIVE RELIEF
 6
            8.1     Plaintiff brings this cause of action for herself and the class pursuant to Federal
 7
     Rule of Civil Procedure 57 and 28 U.S.C. § 2201 seeking a declaration that, for those who
 8
     maintain an auto insurance policy with STATE FARM, it is a violation of Washington law and
 9

10   the insuring agreement with STATE FARM for STATE FARM to base its valuation and

11   payment of the claim on values of comparable vehicles that have been artificially reduced by an
12
     arbitrary and unjustified “Typical Negotiation “adjustment which are neither itemized or
13
     explained.
14
            8.2     This court has the power to declare the rights of said STATE FARM
15

16   policyholders and those who would be insured under such policies and who may suffer similar

17   losses in the future, as well as those who have suffered valuation-related losses.
18
            8.3     This court has the power to enjoin further unfair/deceptive acts/practices pursuant
19
     to RCW 19.86.090.
20
                                  VI. PRAYER FOR RELIEF
21

22          7.1     Plaintiff and the members of the proposed Class have been injured from STATE

23   FARM's breach of contract and violation of the CPA as described above. As a result, Plaintiff
24
     and the members of the proposed Class are entitled to, and pray for, the following relief:
25
            1.      An Order certifying this action as a class action, including certifying each cause
26
     of action under the appropriate subsection of Fed. R. Civ. P. 23;
27

28          2.      An Order appointing Plaintiff as class representative and appointing the

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 1
     undersigned counsel to represent the class;
 2
            3.      A judgment for compensatory damages resulting from STATE FARM's breach of
 3

 4   its obligations under the policy in the amount of the underpayment to those with-in the proposed

 5   Class as measured by the amount by which payments were reduced by the taking of a “Typical
 6
     Negotiation” adjustment discount;
 7
            4.      That any judgment be trebled in accordance with RCW 19.86.090 as to those
 8
     claims falling within the four-year statute of limitations;
 9

10          5.      Declaratory and injunctive relief consistent with the allegations in this Complaint;

11          6.      A judgment for Plaintiff’s attorney’s fees and costs of suit;
12
            7.      Post-judgment interest on the judgment at the rate provided by law from the date
13
     of judgment until paid; and
14
            8.      Such other relief as deemed just and equitable.
15

16          DATED this 25 day of March, 2020.

17                                          Law Offices of STEPHEN M. HANSEN, P.S.
18

19                                          __________________________________________
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